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   UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

                                          X


  UNITED STATES OF AMERICA
                                                          UNSEALING ORDER
          - against -
                                                          Docket No. 18-CR-41^VmKB^
  TIM LEISSNER,

                            Defendant.


                                          X


                  Upon the application of RICHARD P. DONOGHUE, United States Attorney for

  the Eastern District of New York, by Assistant United States Attorney Drew G. Rolle, for an

   order unsealing the certain items filed in the above-captioned matter.

                  WHEREFORE,IT IS ORDERED that the text ofthe following ECF docket

   entries be unsealed; ECF No. 13 (Letter requesting order of excludable delay); ECF No. 19

  (Order to unseal indictment as to Tim Leissner); ECF No,21 (Preliminary order of forfeiture);

   ECF No. 26 (Letter dated Nov. 7, 2018 requesting unsealing of the defendant's plea hearing

   transcript); ECF No.27(Order granting government's application to unseal, in part, the

   defendant's plea hearing transcript); ECF order dated Nov. 20, 2018(Order granting motion for

   travel); ECF order dated Feb. 19, 2019(Order granting motion for travel);

   ECF No.37(Letter dated Mar. 22, 2019 regarding the Times request to review sealing).
                  IT IS FURTHER ORDERED that the text of the following ECF docket entries be

   unsealed: ECF No. 15 (Rule 7(b) notice of intent to file criminal information); ECF No. 18

  (Limited unsealing order).
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                  IT IS FURTHER ORDERED that the underlying documents associated with the

  foregoing EOF docket entries shall remain sealed. The Court finds that the public's right of

   access to these documents is outweighed




                  IT IS FURTHER ORDERED that EOF No.7(Pre-trial release order) and the

   underlying document be unsealed in part.



            The Court finds that the public's right of access to these documents is outweighed




   Dated:     Brooklyn, New York
             -Qctubei    ,2019


                                                     S/Margo K. Brodie
                                                THE HONORABLE MARGO K. BRODIE
                                                UNITED STATES DISTRICT JUDGE
                                                EASTERN DISTRICT OF NEW YORK
